Case 1:24-cv-00873-AHA   Document 36-15   Filed 01/13/25   Page 1 of 7




          APPENDIX C
         Case 1:24-cv-00873-AHA        Document 36-15        Filed 01/13/25      Page 2 of 7




                                  Core MB activists in the West


UK
         Anas al Tikriti: Iraqi MB, grew up in London, runs the Cordoba Foundation
         Abdullah el Haddad: son of Essam and brother of Gehad, used to run Egyptian MB media
          campaign from London
         Mona el Qazzaz: sister of Khaled, involved in Egyptian MB media campaign
         Abdullah Helbawy: son of Kamal Helbawy, very active in Egyptian MB
         Dr. Hany El-Deeb: Egyptian Forum of Britain
         Mohammed Ghanem: runs the Egyptian MB office in Cricklewood (London)
         Mahmoud El-Abiary: Egyptian MB, Austrian citizen, runs media campaign
         Mohammed el Abiary: son of Mahmoud, also involved in various London MB companies
         Mohammed Soudan, former Foreign Relations Secretary of the Freedom and Justice
          Party
         Ibrahim Mounir: long time London resident, Egyptian MB, member of the International
          Organization of the Muslim Brotherhood
         Hani al-Banna: founder of Islamic Relief Worldwide, Egyptian MB
         Omar el Hamdoun: Iraqi, head of MAB (Muslim Association of Britain, the face of the
          MB in the UK)
         Mohamed Haj (MAB)
         Mohammed Kuzbar (MAB)
         Azzam Tamimi: Palestinian, runs al Hiwar TV
         Mohammed Sawalha: Hamas
         Ahmed al Rawi: Iraqi MB, money man, head of Europe Trust
         Ibrahim Brian Hewitt: convert, heads Interpal and other Hamas-related charities
         Dr. Essam Salah Mustafa Yousef (Abu Yousef): Vice Chairman and Managing Trustee
          of Interpal and a key personality in the Hamas-supporting financial structure in the U.K
         Daud Abdullah: various Hamas-related activities
         Ismail Patel: various Hamas-related activities
         Zaher Birawi: various Hamas-related activities
         Adil Adnan: various Hamas-related activities
France
         Abdelaziz Chaambi: one of the historical leaders of the MB in France
         Ahmed Jaballah, one of the heads of UOIF
         Abdallah Ben Mansour, UOIF
         Lhaj Thami Breze, UOIF
         Fouad Alaoui, UOIF
         Hassan Iquioussen, UOIF
        Case 1:24-cv-00873-AHA        Document 36-15     Filed 01/13/25   Page 3 of 7




        Tareq Oubrou, UOIF
Germany
        Ibrahim el Zayat
        Other members of El Zayat family: Bilal, Farouk
        Ayman Maziek: Syrian, the public face of the MB in Germany
        Maaged Mazyek: brother of Ayman
        Issam el Attar: Syrian MB
        Dr Aniss al-Doaiss: IGD
        Amin al-Naggar, Bielefeld
        Samir Falah, president of IGD, Karlsruhe
        Ahmed von Denffer
Holland
        Yahia Bouyafa
        Ibrahim Akkari (Schiedam)
        Nour Din Acherrat
        Rashad Abdil-Rahman al-Baz
        Ali Sonlu
        Amin Rashid
Denmark
        Mohammed al Maimouni
        Jihad al Farra


Ireland
        Hussein Halawa (main guy)
        Ebraheem Halawa (son of Hussein)
        Nooh al-Kaddo
        Adam Argiag (Libyan)
        Sheikh Yahya al Hussein
        Sheikh Salem Faituri Muftah (Libyan)
        Sheikh Khalid Shallabi
Italy
        Yussuf Nada
        Ahmed Idrsi Nasreddin
        Ghaleb Himmat
        Mohammed Hannoun (Palestine. Milan. UCOII, ABSPP, Al Rabitah Al Islamiayyah fi
         Italia. Representative of Hamas in Italy. President of ABSPP)
        Abu Sumaya (Palestine-Jordan. Imam in Perugia, founder of UCOII, father of Sumaya
         Abdel Qader, who was in charge of the youth branch of the Federation of Islamic
    Case 1:24-cv-00873-AHA        Document 36-15       Filed 01/13/25     Page 4 of 7




     Organizations in Europe--FIOE):
     https://www.facebook.com/mohamad.abdelqader.9?fref=pymk
    Dr. Abu Bakr Geddouda (Algerian, member of Algerian Parliament with Hamas, until
     2008 President of Al Rabita al Islamiyya fi Italia).
    Dr. Baha Ghrewati (Syria, UCOII, Milan):
     https://www.facebook.com/DottorGhrewatiBaha?ref=ts&fref=ts
    Dr. Abul-Kheyr Breigheche (Syria, Trento, former Vice-President of FIOE and now
     still holding an important role in FIOE):
     https://www.facebook.com/aboulkheir.breigheche?fref=pb&hc_location=friends_tab
    Dr. Abu Shweima (Palestine-Jordan. Imam of Islamic Centre of Segrate-Milan,
     important roles in FIOE, such as director of its monthly magazine Al Europiya. Member
     of Al Rabitah Al Islamiayyah fi Italia, Associazione Imam e Guide Religiose d’Italia.
     Association for the Noble Qur’an): https://www.facebook.com/ali.abushwaima?fref=ts
    Dr. Maher Kabakebbj (Syria, Milan. President of the Waqf of UCOII, Al Rabitah Al
     Islamiayyah fi Italia, Associazione Imam e Guide Religiose d’Italia, father of Abdallah
     Kabakebbsj, founder of GMI): https://www.facebook.com/maher.kaba?fref=ts
    President: Ezzeddin Ezzir (Imam of Florence and Colle Val d’Elsa. Palestine. He is
     President of UCOII for the second consecutive time, member of Al Rabita al Islamiyya fi
     Italia)
    Vice-President: Dr. Youssef Sbai (Morocco. Vice-President UCOII; specialized in
     education/tarbiyya): https://www.facebook.com/youssef.sbai?fref=tl_fr_box
    Spokesman: Yassin Laframe (Italian-Moroccan. Torino/Bologna, Al Rabitah al
     Islamiyya fi Italia, GMI, Islamic Relief Italy):
     https://www.facebook.com/yassine.lafram1
    Abdelhafid Kheit: (Algeria. Relations with the Islamic Centres of UCOII. President of
     Islamic Community in Sicily. Imam Mosque of Catania):
     https://www.facebook.com/kheit.abdelhafid?fref=ts
    Dr. Maher Kabakebbji (Syria. President of the Waqf of UCOII):
     https://www.facebook.com/maher.kaba?fref=ts
    Fouad Selim (Algeria, imam of mosque of Monza):
     https://www.facebook.com/selimfuad?fref=ts
    Mohammed Abdel-Rahman (Egypt, Treasurer of UCOII, President of Al Rabita al
     Islamiyya. Member of the Shura Council of FIOE):
     http://www.facebook.com/mohamed.a.rahman.944
    El Sayed ElHamdi Mahmud (Egypt): http://www.facebook.com/elsayed.e.mahmoud
    Dr. Abdelghani al Beltaghi
    Yassin al Baradei (Italian-Moroccan, former director of Islamic Relief, founder of the
     Association of the Muslim Scout of Italy): https://www.facebook.com/baradai?fref=ts
    Mohammed El Zaiat: Coalition for support to legitimacy and democracy in Egypt
     http://www.facebook.com/el.z.mohamed?fref=ts
    Abdallah Kabakebbji: Young Muslims of Italy
     https://www.facebook.com/abdallah.kabakebbji?fref=ts
    Sumaya Abdel Qader: Young Muslims of Italy
     https://www.facebook.com/sumaya.abdelqader?fref=ts
       Case 1:24-cv-00873-AHA       Document 36-15         Filed 01/13/25   Page 5 of 7




       Davide Piccardo: Young Muslims of Italy
        https://www.facebook.com/davide.piccardo?fref=ts
Belgium
       Bassem Hatahet, Syrian, the face of the MB in Belgium
       Karim Chemlal: Moroccan
       Michel Privot: convert, now left
       Karim Azzouzi: co-founder of the LIIB (one of Belgium’s largest Muslim organizations)
       Monsif Chatar: co-founder of the LIIB (one of Belgium’s largest Muslim organizations)
       Mahmoud Amr
       Abd al-Hamid Bouziouna
       Muhammad Tojgani


Austria
       Ayman Ali
       Kamel Mahmoud, longtime Graz resident, Egyptian MB, one of the founders of the al
        Nur mosque in Graz
       Abulwafa Mohammed, very close to Ayman Ali, has recently moved to Vienna where he
        does education work for the Liga KulturVerein
       Dr. Magdi Ellefi, spokesman of the Graz mosque
       Ahmad Hassan Graz
       Hassan Noseir Graz
       Ismail Deyab Graz
       Zekeriya Özcelik Graz
       Mohammed Gowayet, Egyptian who arrived in Graz in 1956, at some point close to the
        MB although apparently never a member. He is now old and sidelined
       Eid Khalifa: widow of Abdelaziz Khalifa, close contact of Nada in Austria, she and her
        children are on the board of various MB-related companies in Austria and UK
       Anas Schakfeh: Syrian MB, been in Austria for decades, involved in most MB-related
        activities
       Ayman Morad: Syrian MB, arrived in Austria in the early 1980s, board member of IRPA
       Jamal Morad: Syrian MB, brother of Ayman, board member of IGGÖ
       Samir Abu Laban: Syrian MB, personal friend of Yussuf Nada, lives in Vienna but since
        the conflict in Syria spends substantial time in Turkey.
       Elsayed Elshahed: Egyptian MB, former head of IRPA
       Amina Shakar: sister of Ibrahim El Zayat, married to Ammar Shakar (also involved in
        MB network in Austria), director of IRPA.
       Adnan Ibrahim, imam at Vienna’s Hidaya mosque, used to live in Bosnia during the war,
        recently he was very active in protests against the overthrow of Mursi.
       Ibrahim Demerdasch, Vienna’s Hidaya mosque.
       Adel Doghman (aka Adel Abo Albara), a prominent Vienna-based Hamas operative with
        close ties to Ali and other local MB activists.
       Case 1:24-cv-00873-AHA        Document 36-15       Filed 01/13/25     Page 6 of 7




USA
       Abdul Mawgoud Dardery: Egyptian MB, was member of parliament under Mursi for FJP
        in Luxor, now lives in Minneapolis and travels a lot to connect MB activists outside of
        Egypt
       Dr. Taha Jabir Al-Alwani: IIIT founder
       Jamal al-Din Barzinji
       Hisham Yahya al-Talib
       Omar Ahmed (CAIR)
       Nihad Awad (CAIR)
       Ibrahim Hooper: Canadian convert, communication director at CAIR
       Ingrid Mattson: woman, convert, former head of ISNA
       Sheikh Basyouny Nehela, MAS board member, imam in Boston
       Mohammed Bilal Kaleem, MAS Boston
       Louay Safi: Syrian MB, ISNA, later became spokesman for Syrian National Council
       Mohammed Magid: Sudanese, Executive Director of the All Dulles Area Muslim Society
        (ADAMS), high positions in ISNA and NAIT.
       Maher Hathout
Canada
       Jamal Badawi is an Egyptian born Canadian national and a leading figure of the North-
        American Muslim Brotherhood infrastructure.
       Wael Haddara: an advisor to Muhammad Mursi in 2012, a board member of the MAC,
        CAIR-Canada
       Yaser Haddara, brother of Wael
       Munir El-Kassem: Libyan
       Faisal Kutty: CAIR Canada
       Khadija Haffajee: CAIR Canada
       Chiheb Battikh
Sweden
       Chakib Benmakhlouf
       Abdirizak Waberi
       Omar Mustafa
       Mahmoud Aldebe
       Mahmoud Khalfi
       Ahmad Ghanem
       Mahmoud Eddebai
Finland
       Anas Hajjar (imam Islamic Society of Finland and president of Finnish Islamic Council,
        SINE)
       Rami Adhan (SINE, Syrian)
    Case 1:24-cv-00873-AHA     Document 36-15   Filed 01/13/25   Page 7 of 7




    Abdi-Hakim Yasin Ararse
    Muhamed Hussein Omar
